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    5                                    UNITED STATES DISTRICT COURT
    6                        CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
    7

    8 FRANK VARELA, on behalf of himself                    Case No. 5:16-cv-00577-DMG
    9
        and all others similarly situated,
                                                            Hon. Dolly M. Gee
   10                      Plaintiff,
   11
                                                            DECLARATION OF LUCENDA JO
                  vs.                                       BEESON IN SUPPORT OF DEFENDANT
   12
                                                            LAMPS PLUS, INC.’S MOTION TO
                                                            COMPEL ARBITRATION ON AN
        LAMPS PLUS, INC., LAMPS PLUS
   13 CENTENNIAL, INC., LAMPS PLUS
                                                            INDIVIDUAL BASIS
        HOLDINGS, INC., and DOES 1 through
   14 10, inclusive,

   15
                           Defendants.
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        4818-3303-8897.7                                                                     5:16-cv-00577-DMG
                DECLARATION OF LUCENDA JO BEESON IN SUPPORT OF LAMPS PLUS’S MOTION TO COMPEL ARBITRATION
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    1                              DECLARATION OF LUCENDA JO BEESON
    2            I, Lucenda Jo Beeson, declare as follows:
    3            1.        I am the Human Resources Director for Lamps Plus, Inc. (“Lamps
    4 Plus”). I have been the Human Resources Director for Lamps Plus since January 4,

    5 2011. Each of the facts stated herein are personally known to me and I could and

    6 would testify competently to them if called to do so. I make this declaration to

    7 authenticate the Arbitration Agreement that was signed by Lamps Plus employee

    8 Frank R. Varela III on April 9, 2007.

    9            2.        One of my responsibilities as the Human Resources Director for Lamps
   10 Plus is to maintain the personnel records of all Lamps Plus employees. Based on

   11 my experience, I have personal knowledge as to how employee records and files are

   12 stored and specifically how the Arbitration Agreements are stored.

   13            3.        As a general policy, Lamps Plus employees must sign an Arbitration
   14 Agreement as a condition of employment with Lamps Plus. Once signed, the

   15 original agreements are stored in the employees’ personnel file. Lamps Plus’s

   16 personal files are kept in a locked office, which can only be accessed by a few

   17 employees, and are not tampered with. The signed Arbitration Agreements for

   18 Lamps Plus’s employees are employee records that are kept in the ordinary course
   19 of business at Lamps Plus.

   20            4.        Mr. Varela began working for Lamps Plus on April 9, 2007. Mr.
   21 Varela signed an Arbitration Agreement that same day. He was also given at this

   22 time an accompanying “ATTACHMENT A LAMP’S PLUS EMPLOYMENT

   23 ARBITRATION RULES AND PROCEDURES.”

   24            5.        Former Lamps Plus HR employee Kathy Tomlinson also signed the
   25 Arbitration Agreement on April 9, 2007 on behalf of Lamps Plus.

   26            6.        Lamps Plus’s general policy for new employees is to have an
   27 orientation session on the first day of work. At orientation, employees are given the

   28 Arbitration Agreement and Attachment A, along with other important policies and

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                DECLARATION OF LUCENDA JO BEESON IN SUPPORT OF LAMPS PLUS’S MOTION TO COMPEL ARBITRATION
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               EXHIBIT 1
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Lamps Plus is considering you as a prospective employee. Part of our employment practice is agreeing to abide by
the terms in the Arbitration Agreement Please read this agreement and be willing to sign it if an employment offer
is made. Thank you for your cooperation.


                                          LAMPS PLUS, INC.
                                           ARBITRATION PROVISION

        Except as provided below, the parties agree that any and all disputes, claims or controversies arising out of
or relating to this Agreement, the employment relationship between the parties, or the termination of the
employment relationship, that are not resolved by their mutual agreement shall be resolved by final and binding
arbitration as the exclusive remedy.

         I understand that by entering into this Agreement, I am waiving any right I may have to file a lawsuit or
other civil action or proceeding relating to my employment with the Company and am waiving any right I may have
to resolve employment disputes through trial by judge or jury. I agree that arbitration shall be in lieu of any and all
lawsuits or other civil legal proceedings relating to my employment

Claims Covered by the Arbitration Provision

         The Company and I mutually consent to the resolution by arbitration of all claims or controversies
("claims"), past, present or future that I may have against the Company or against its officers, directors, employees
or agents in their capacity as such, or otherwise, or that the Company may have against me. Specifically, the
Company and I mutually consent to the resolution by arbitration of all claims that may hereafter arise in connection
with my employment, or any of the parties' rights and obligations arising under this Agreement The only claims
that are arbitrable are those that, in the absence of this Agreement, would have been available to the parties by law.
The claims covered by this Agreement include, but are not limited to, claims for discrimination or harassment based
on race, sex, sexual orientation, religion, national origin, age, marital status, or medical condition or disability
(including claims under the California Fair Employment and Housing Act, the Age Discrimination in Employment
Act, the Americans with Disabilities Act, the Equal Pay Act, Title VII of the Civil Rights Ad of 1964, and any
other local, state or federal law concerning employment or employment discrimination). This agreement does not
affect the Employee's right to seek relief through the United States Equal Employment Opportunity Commission or
the California Department of Fair Employment and Housing.

The Arbitration Process

         Either party may commence the arbitration process by filing a written demand for arbitration with
J.A.M.S/ENDISPUTE ("J.A.M.S.") or the American Arbitration Association ("AAA") and sending a copy by
personal delivery or certified mail to the other party. In the event I initiate the arbitration process, I will send the
notice to the Human Resources Department. If the Company initiates arbitration, it will send the notice to my last
known residence address as reflected in my personnel file. The Company and I agree that, except as provided in
this Agreement, the arbitration shall be in accordance with the AAA's then-current National Rules for the
Resolution of Employment Disputes (if AAA is designated) or the then-current J.A.M.S Arbitration Rules and
Procedures for Employment Disputes (if J.A.M.S. is designated). The arbitration shall be conducted by one
arbitrator ("the Arbitrator") selected pursuance to the selection procedures provided by JAMS. or AAA or by an
arbitrator mutually selected by the parties.

        The Arbitrator shall apply the substantive law (and the law of remedies, if applicable) of the State of
California, or federal law, or both, as applicable to the claim(s) asserted. The Arbitrator is without jurisdiction to
apply any different substantive law, or law of remedies. The Arbitrator is authorized to award any remedy allowed
by applicable law. The Arbitrator shall not have the power to modify any of the provisions of this Agreement The
Arbitrator shall issue a written and signed statement of the basis of his or her decision, including findings of fact
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and conclusions of law. The statement and award, if any, shall be based on the terms of this Agreement, the
findings of fact and the statutory and decisional case law applicable to this dispute. Proceedings to enforce,
confirm, modify, set aside or vacate an award or decision rendered by the Arbitrator will be controlled by and
conducted in conformity with the Federal Arbitration Act, 9 U.S.C. Sec 1 et seq, or applicable state law. Nothing in
this paragraph shall prohibit or limit the parties from seeking injunctive relief in heu of or in addition to arbitration
at any time directly from a Court of competent jurisdiction. The arbitration shall be final and binding upon the
parties, except as provided in this Agreement


Arbitration Fees and Costs


         The Company agrees to pay all fees associated with the arbitration that are unique to arbitration including
the cost of the arbitrator. These costs do not include the initial filing fee if I initiate the arbitration costs or the cost
of discovery, expert witnesses, or other costs which I would have been required to bear had the matter been filed in
a court. The costs of arbitration are borne by the Company The parties will be responsible for paying their own
attorney's fees, except as otherwise required by law and determined by the arbitrator in accord with applicable law.


Voluntary Agreement

        I ACKNOWLEDGE THAT I HAVE CAREFULLY READ THIS AGREEMENT, THAT I
UNDERSTAND ITS TERMS, THAT ALL UNDERSTANDINGS AND AGREEMENTS BETWEEN THE
COMPANY AND ME RELATING TO THE SUBJECTS COVERED IN THE AGREEMENT ARE CONTAINED
IN IT, AND THAT I HAVE ENTERED INTO THE AGREEMENT VOLUNTARILY AND NOT IN RELIANCE
ON ANY PROMISES OR REPRESENTATIONS BY THE COMPANY OTHER THAN THOSE CONTAINED
IN THIS AGREEMENT ITSELF. 1 UNDERSTAND THAT I HAVE THREE (3) DAYS FOLLOWING THE
SIGNING OF THIS AGREEMENT TO REVOKE THIS AGREEMENT AND THAT THIS AGREEMENT
SHALL NOT BECOME EFFECTIVE OR ENFORCEABLE UNTIL THE REVOCATION PERIOD HAS
EXPIRED.

      I ACKNOWLEDGE THAT I HAVE BEEN ADVISED TO CONSULT WITH LEGAL COUNSEL
BEFORE SIGNING THIS AGREEMENT. I UNDERSTAND THAT BY SIGNING THIS AGREEMENT I AM
GIVING UP MY RIGHT TO FILE A LAWSUIT IN A COURT OF LAW AND TO HAVE MY CASE HEARD
BY A JUDGE AND/OR JURY


THE EMPLOYEE                                                 LAMPS PLUS


  Flegac vegcLil
Employee's Name

                                                                Lic; 5`-
Employee's Signature                                         Date

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                                                        ATTACHMENT A
                                              LAMPS PLUS EMPLOYMENT ARBITRATION
                                                    RULES AND PROCEDURES


          1.        Federal Arbitration Act Except as provided in this Agreement, the Federal Arbitration Act shall govern the
interpretation, enforcement and all proceedings pursuant to this Agreement To the extent that the Federal Arbitration Act is
inapplicable, California law pertaining to agreements to arbitrate shall apply.

            2.         Arbitration ProcedureK A. The arbitration will be conducted by Judicial Arbitration & Mediation Services, Inc.
("JA.M.S."). The Company and I agree that, except as provided in this agreement, the arbitration shall be in accordance with the then-
current JAMS. Employment Arbitration Rules. The arbitrator shall be either a retired judge, or an attorney licensed to practice law in
the state in which the arbitration is convened. The arbitration shall take place in or near the city in which the Employee is or was last
employed by the Company.
                       B. The arbitrator shall be selected as follows. JAMS shall give each party a list of 10 arbitrators drawn from its
panel of employment dispute arbitrators. Each party may stake all names on the list it deems unacceptable. If only one common name
remains on the lists of all parties, that individual shall be designated as the arbitrator. If moire than one common name remains on the
lists of all parties, the parties shall strike names altanately from the list of common names until only one remains. The party who did
not initiate the claim shall straw first. If no common name exists on the lists of atl parties, the sponsoring organization shall furnish an
additional list and the process shall be repeated. If no arbitrator has bean selected after two lists have been distributed, then the parties
shall strike alternately from a third list, with the party initiating the claim Mating first, until only one name remains. That person shall
be designated as the arbitrator.
                       C. The arbitrator shall apply the substantive law (and the law of remedies, if applicable) of the state in which the
claim arose, or federal law, or both, as applicable to the claim(s) asserted. The arbitrator is without jurisdiction to apply any different
substantive law, or law of remedies. The arbitrator, and not any federal, state, or local court or agency, shall have exclusive authority to
resolve any dispute relating to the interpretation, applicability, enforceability or to:mistier' of this Agreement, including but not limited to
any claim that all or any part of this Agreement is void or voidable. The arbitration shall be final and binding upon the parties, except as
provided in this Agreement
                       D. The arbitrator shall have jurisdiction to hear and rule on pre-hearing disputes and is authorized to hold the
prehearing conferences by telephone or in person, as the arbitrator deans necessary. The arbitrator shall have the authority to entertain a
notice to dismiss and/or a motion for summary, judgement by any party and shall apply the standards governing such metros under the
Federal Rules of Civil Procedures.
                       E. Either party, at its expense, may arrange for and pay the cost of a cent reporter to provide a stenographic record
of proceedings.
                       F. Either party, upon request at the close of hearing, shall be given leave to file a posit-hearing brier The time for
filing such a brief shall be set by the arbitrator.
                       H. Either party shall have the right, within 20 days of issuance of the arbitrator's proposed opinion, to file with the
arbitrator a motion to reconsider (accompanied by a supporting brief) where the party believes that the arbitrator's award violates public
policy and/or the applicable arbitration pnicedures set forth herein and by JAMS. The other party shall have 20 days from the date of
the motion to respond. The arbitrator thereupon shall reconsider the issues raised by the motion and, promptly, either confirm or change
the decision, which (except as provided by this Agremnent) shall than be final and conclusive upon the parties. The costs of such a
motion for reconsideration and written opinion of the arbitrator shall be borne by the party prevailing on the motion, unless the arbitrator
orders otherwise.

           3. flawing Date, The arbitrator will promptly set a hearing date and time, and will mail written notice to each of the parties at
least sixty (60) days in advance of the hearing unless the parties otherwise agree or mutually waive notice.

          4. aga&m Formal pleadings are not required. However, the party initiating the claim shall put JAMS. and the
responding party on notice of the claims mated and include a short and plain statement of (1) the factual and legal bases for the claims,
and (2) the amount of damages being sought and a description of any other relief being sought

          5. Discover,: A. Witnesses/Doemients: At least thirty (30) days before the arbitration, the parties shall exchange lists of
witnesses, including any experts, as well as copies of all exhibits intended to be used at the hearing. The arbitrator shall have discretion
to order earlier and additional pre-hearing exchange of information.
                     B. Deposition: Each party shall have the right to take the deposition of one individual as well as any expert
designated by either party.
                    C. Docinnent Production: Each party shall have the right to require production of relevant documents from the other
PartY
                     D Other Discovery No other discovery shall be had, except upon order of the arbitrator and upon a showing of
substantial need.
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                    E Discovery Motions: The arbitrator will establish an informal procedure to resolve discovery disputes. The
iSrocedure may include presentation of motions by letter as opposed to formal pleadings. Service of motions by facsimile transmission
and rulings by telephonic conference calls also may be permitted at the arbitrator's discretion.
                    F. Subpoenas: The subpoena rights under Rule 7(D) shall apply to discovery.
                    G. Dispositive Motions The Arbitrator shall have the jurisdiction and power to entertain a motion to dismiss and/or
motion for summary judgement by any party and shall apply the standards governing such motions under the Federal Rules of Civil
Procedures.

                    H. Fees: The fees, costs and expenses of JAMS and the arbitrator shall be allocated between the parties as
provided in Section 6 of the Mutual Agreement to Arbitrate Claims (the 'Arbitration Agreement").

          6. Briefs; Concise pre-arbitration briefs are encouraged. Any such brief shall be filed and served ten (10) days before the
arbitration date. Either party, upon request at the close of the hearing, may be given leave to file a post-hearing brief. The time for filing
such a brief shall be set by the arbitrator. Reply briefs may not be filed unless the arbitrator specifies to the contrary at the close of the
hearing. Briefs are limited to thirty (30) pages.

          7. IlriAitiligialliggin& A. Conduct of Hearing The arbitrator shall preside at the hearing and rule on the admission and
exclusion of evidence as well as questions of procedure, and may exercise all other powers conferred upon the arbitrator by the parties
herein in the Arbitration Agreement The hearing will be conducted as if it were an informal court trial Proceedings may be adjourned
from time to time.
                      B. Representation: Any party may be represented by an attorney or other representative selected by the party.
                      C. Attendance of Witnesses and Production of Evidence. The arbitrator may issue subpoenas for the attendance of
witnesses and the production of documents for the hearing
                      D. Order of Proof The order of proof should generally follow that of a typical court trial, including an opportimity to
make opening statements and dosing arguments.
                      E. Presentation of Evidence: Judicial rules relating to the order of proof the conduct of the hearing and the
presentation and admissibility of evidence will not be applicable. Any relevant evidence, including hearsay, shall be admitted by the
arbitrator if it is the sort of evidence upon winch responsible persons are 8023Stalled to rely in the conduct of serious affairs, regardless
of the admissibility of such evidence in a court of law.
                      F. Law The arbitrator shall apply the substantive law and the law of remedies, if applicable, of the state in which
the claim arose, or federal law or both, as may be applicable to the claim(s) being asserted.
                      G. Ancillary Services: Any party desiring a stenographic record may hire a court reporter to attend the proceedings.
The same applies to any party desiring an interpreter. The requesting party must notify the other parties of the arrangements in advance
of the hearing and must pay the costs incurred. If the other party desires a copy of the transcript, it shall be made available. but in that
event the repartees total charges shall be shared equally by all parties.
                      H. Payment of Attorney and Witness Expenses: Each party shall pay its own attorneys fees, witness fees and other
expenses incurred for its own benefit, imless otherwise provided by contract or statute.
                      1. Arbitration in the Absence of a Party or Representative The arbitration may proceed in the absence of any party or
representative who, after due notice, fails to appear or fails to obtain a continuance. In such case, the arbitrator shall rule against the
absent party.
                      J. Serving Notice: Any papas, notices, or process necessary or proper for the initiation or continuation of an
arbitration under these rules, for any cant action in connection therewith or far the entry of judgement on any award made under these
rules, may be personally served or mailed to the party or its representative at the test known address, provided that a reasonable
opportunity to be heard with regard to the processing has been granted to the party. The arbitrator may allow, and/or the parties may
consent to, the use of facsimile transmission (FAX, telex, telegram, or other written forms of electronic communication to give notices
required by these rules).
                      K. Waiver of Rules: Any party who proceeds with arbitration with knowledge that any provision or requirement of
these rules has not been complied with and who fails to state an objection thereto in writing shall be deemed to have waived the right to
object
                      L. Jurisdiction: The arbitrator has the authority to resolve any dispute relating to the formation, interpretation,
applicability or enforceability of the Arbitration Agreement.

          8. Award: The arbitrator shall make the award and issue an opinion in the written form typically rendered in labor arbitration
as soon as possible, and in no case more than thirty (30) days, after the close of evidence or the submission of posthearing briefs,
whichever is later. The arbitrator may grant any remedy or relief legal or equitable, that wradd have been available had the claim been
asserted in court. The award shall include a brief statement of the factual and legal bases for the ruling,

File: Arbit
